»…ii Rule 35 ami/or 32(t)) FRCrP on

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UNITED STATES OF AMER|CA,

P|aintiff,
Cr. ND. 05-20030-02-M1

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VS. )
TlMoTHY R. FoRREsT, §
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Defendant.

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MOTION TO CONT|NUE

 

Comes now the United States of America by and through its counsel, Terrell l_.
l-larrr`s, United States Attorney for the Western District of Tennessee, and files its motion
for continuance of the arraignment from the present setting of Wednesday, May%, 2005.
Additiona| time is needed due to the fact that government counsel will be out of town. ln
additionl counsel forthe defendant is scheduled to appear in Federal Court in Chicago on
the same date. in the alternative, the parties suggest a date of June 21, 2005 for the
arraignment The parties are confident that a Rule 20 transfer to the Eastern District of
illinois can be accomplished by the suggested June 21, 2005 date. lf, however, the Rule
20 is not accomplished, the parties will appear for arraignment in Federa| Court in the
Western District of Tennessee. Counsel for the defendant has been contacted and has

no objection to this motion.

MOT|ON GRANTED
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Respectfully submitted,

TERRELL L. HARR|S
United States Attorney

F\PM (‘)Lw_‘
V. RAE OL|VER
Assistant United States Attorney
167 N. Main, Room 800
Memphis, TN 38103
(#18831 Tennessee)

CERTIF|CATE OF SERV|CE

i, V. Rae O|iver, Assistant United States Attorney for the Western District of

Tennessee, hereby certify that a copy of the foregoing Motion to Continue has been

mailed, first class postage pre-paid, to Nei| I-i. Cohen, Esq., 2000 North Clifton Avenue,

Chicago, ||IinOiS 60614.

ThisZJ_Mday of M_a\[, 2005.

?¢¢. O,£¢M.¢l
V. RAE OLlVER
Assistant United States Attorney
167 N. lVlain, Room 800
Memphis, TN 38103

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 76 in
case 2:05-CR-20030 Was distributed by faX, mail, or direct printing on
May 26, 2005 to the parties listed.

 

 

Valeria Rae Oliver

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

Memphis7 TN 38103

Honorable J on McCalla
US DISTRICT COURT

